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                               IN THE UNITED STATES BANKRUPTCY COURT
                                    FOR THE DISTRICT OF DELAWARE


In re:                                                           Chapter 11

Lordstown Motors Corp., et al.,1                                 Case No. 23-10831 (MFW)
                                                                 (Jointly Administered)
                                       Debtor.
                                                                 Related D.I.: 668, 696 & 699



            ORDER APPROVING STIPULATION BETWEEN DEBTORS, OHIO
        SECURITIES LITIGATION LEAD PLAINTIFF, OFFICIAL COMMITTEE OF
      UNSECURED CREDITORS, AND OFFICIAL COMMITTEE OF EQUITY SECURITY
       HOLDERS REGARDING OHIO SECURITIES LITIGATION LEAD PLAINTIFF’S
         MOTION TO APPLY BANKRUPTCY RULE 7023 TO CLASS CLAIMS AND
           PROOFS OF CLAIM NUMBERS 1368, 1379, 1380, 1394, 1426, AND 1434

                Upon consideration of the Stipulation Between Debtors, Ohio Securities Litigation Lead

  Plaintiff, Official Committee of Unsecured Creditors, and Official Committee of Equity Security

  Holders Regarding Ohio Securities Litigation Lead Plaintiff’s Motion To Apply Bankruptcy Rule

  7023 To Class Claims and Proofs of Claim Numbers 1368, 1379, 1380, 1394, 1426, and 1434 (the

  “Stipulation”)2 attached hereto as Exhibit 1; and the Court having jurisdiction over the matters

  raised in the Stipulation pursuant to 28 U.S.C. §§ 157 and 1334; and consideration of the

  Stipulation and the relief requested therein being a core proceeding pursuant to 28 U.S.C.

  § 157(b)(2); and venue being proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409;

  and due and proper notice of the Stipulation having been provided, and it appearing that no other

  or further notice need be provided; and the Court having found and determined that the relief

  sought in the Stipulation is in the best interests of the Debtors, their estates, creditors and all


  1
          The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown Motors
          Corp. (3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’ service
          address is 27000 Hills Tech Ct., Farmington Hills, MI 48331.
  2
          Capitalized terms not otherwise defined herein shall have the same meanings ascribed to them in the Stipulation.


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parties-in-interest, and that the legal and factual bases set forth in the Stipulation establish just

cause for the relief granted herein; and after due deliberation and sufficient cause appearing

therefor, it is HEREBY ORDERED THAT:

                      1.    The Stipulation annexed hereto as Exhibit 1 is hereby APPROVED.

                      2.    The Debtors are authorized to execute and deliver all instruments and

documents, and take such other actions as may be necessary or appropriate, to implement and

effectuate the relief granted by this Order.

                      3.    This Court shall retain jurisdiction to hear and determine all matters arising

from or related to the implementation of this Order.




Dated: February 5th, 2024                                MARY F. WALRATH
Wilmington, Delaware                                  2 UNITED STATES BANKRUPTCY JUDGE

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